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                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


NOLA SPICE DESIGNS, L.L.C.                    *   CIVIL ACTION NO. 2:12-cv-02515

                                              *
       Plaintiff,                             *
                                              *
VERSUS                                        *
                                              *       JUDGE: Carl Barbier

HAYDEL ENTERPRISES, INC.                      *

D/B/A HAYDEL’S BAKERY                         *

                                              *       MAG. JUDGE: Joseph C. Wilkinson, Jr.

       Defendant                              *


                            STIPULATED PROTECTIVE ORDER

        Pursuant to Fed. R. Civ. P. 26(a) and (e), Plaintiff Nola spice Designs, L.L.C.
(“Plaintiff”) and Defendant Haydel Enterprises, Inc. (“Defendant”), by and through undersigned
counsel, stipulate, pursuant to Federal Rule of Civil Procedure 26(c), to the following Protective
Order, and request that the Court enter it. Plaintiff and Defendant are referred to collectively as
the “parties,” and individually as a “party.”

1.              Introduction and Scope
        This Protective Order shall govern documents and information exchanged during this
action, including, but not limited to, documents produced by the parties or non-parties,
deposition testimony, testimony taken at a hearing or other proceeding, interrogatory answers,
responses to requests for admission and requests for production of documents, and
correspondence between counsel (collectively, “Discovery Material”).


2.             Designation of Certain Discovery Material as “CONFIDENTIAL”
        Discovery Material may be designated “CONFIDENTIAL” if such Discovery Material
contains non-public, sensitive or confidential information. Such Discovery Material shall be so
identified at the time of service of such Discovery Material by including on each page the legend
“CONFIDENTIAL.” Any document, material, or information designated by a party as
“CONFIDENTIAL” must be reviewed by an attorney. The designation of any document,
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material, or information as “CONFIDENTIAL,” in the manner described above, shall constitute
a certification by the attorney reviewing the material and making such designation that he or she
in good faith believes the material is confidential or otherwise entitled to protection under Fed.
R. Civ. P. 26(c)(7).


3.              Designation of Certain Discovery Material as “ATTORNEYS’ EYES
ONLY”
        A party may designate Discovery Material as “ATTORNEYS’ EYES ONLY” if such
Discovery Material contains particularly sensitive confidential information that the producing
party believes in good faith cannot be disclosed without threat of competitive injury, because
such Discovery Material contains proprietary or commercially sensitive information. Such
Discovery Material shall be so identified at the time of service of such Discovery Material by
including on each page the legend “ATTORNEYS’ EYES ONLY.” This designation shall be
used as sparingly as possible. Any document, material, or information designated by a party as
“ATTORNEYS’ EYES ONLY” must be reviewed by an attorney. The designation of any
document, material, or information as “ATTORNEYS’ EYES ONLY,” in the manner described
above, shall constitute a certification by the attorney reviewing the material and making such
designation that he or she in good faith believes the material deserves this heightened level of
protection under Fed. R. Civ. P. 26(c)(7).


4.             Limitations on Access to Discovery Material


         Subject to Paragraphs 5 and 6 of this Order, “CONFIDENTIAL” or “ATTORNEYS’
EYES ONLY” Discovery Material shall not, without prior written consent of the producing
party, (a) be disclosed to anyone other than the Court, its officers and its clerical staff and the
Authorized Personnel specified in Paragraphs 5 and 6 hereof; or (b) be used by anyone other than
the producing party for any purpose whatsoever other than the prosecution or defense of this
litigation. Nothing herein shall affect any confidentiality obligations to which the parties may be
subject pursuant to agreements independent of this litigation, nor shall anything herein constitute
an agreement that such obligations will relieve any party of the obligation to produce Discovery
Material.


5.             Limitations on Access to “CONFIDENTIAL” Discovery Material


        Access to and disclosure of “CONFIDENTIAL” Discovery Material marked and
identified in accordance with this Order shall be limited to the Court, its officers and its clerical
staff and to the Authorized Personnel. Authorized Personnel are:

        (a)            Outside counsel of record for the parties to this lawsuit and outside
counsel not of record that become signatories to this Order, including paralegal, secretarial, and
clerical personnel reasonably necessary to assist such counsel;
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         (b)           In-house counsel for the parties with responsibility for the oversight of this
litigation;

       (c)               Employees of the parties or any of their parents with responsibility for the
oversight of this litigation;

        (d)             Technical experts and consultants and their staff who are retained by a
party or attorney to assist in this action, but only to the extent reasonably necessary to perform
such work. A party desiring to disclose “CONFIDENTIAL” (or “ATTORNEYS’ EYES
ONLY”) Discovery Material to experts or consultants shall first obtain from each expert or
consultant an Acknowledgement in the form provided in Exhibit A, and the attorney for the party
shall keep the executed Acknowledgement for a one year period following the final termination
of this Civil Action. The disclosing attorney must have a good faith belief that disclosure of such
documents to the expert of consultant is necessary for the expert or consultant’s review of the
issues in this Civil Action.

       (e)             Employees of outside vendors providing copy services and exhibit
preparation services in connection with this litigation provided that each vendor execute an
Acknowledgement in the form provided in Exhibit A;

       (f)           Stenographic reporters and videographers engaged for depositions or
proceedings necessary to this action;

        (g)            Any person (i) who is identified as an author or recipient, including receipt
by copy, of any document or information therein and is not otherwise shown prior to such
disclosure not to have received the document or information therein or (ii) who has been
identified in writing by the designating party as having been provided with the document or
information therein. Such person shall be considered “Authorized Personnel” solely with respect
to the specific document or information therein;

        (h)            Third-party mediators selected by the parties;

        (i)             Such other persons as hereafter may be designated by written stipulation
of the parties filed with the Clerk of the Court or by further Order of the Court.


6.             Limitation on Access to “ATTORNEYS’ EYES ONLY” Discovery Material
        Access to and disclosure of “ATTORNEYS’ EYES ONLY” Discovery Material marked
and identified in accordance with this Protective Order shall be limited solely to the Court, its
officers and its clerical staff and to the Authorized Personnel listed in Paragraph 5, with the
exception that no “ATTORNEYS’ EYES ONLY” Discovery Material shall be provided, shown,
or made available to the persons identified in Paragraphs 5(b) and 5(c). “ATTORNEYS’ EYES

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ONLY” Discovery Material shall not be provided, shown, made available or communicated in
any way to any person or entity other than provided for in this paragraph.


7.             Designation of Deposition or Other Testimony
        Deposition and other testimony may also be designated as “CONFIDENTIAL” or
“ATTORNEYS’ EYES ONLY.” During the course of a deposition or other testimony which
involves “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” Discovery Material, counsel
for a party or witness producing such information may designate on the record the portion(s) of
the deposition or other testimony which counsel believes may contain “CONFIDENTIAL” or
“ATTORNEYS’ EYES ONLY” information. If such designation is made, those portions of the
deposition or other testimony involving such “CONFIDENTIAL” or “ATTORNEYS’ EYES
ONLY” Discovery Material will be taken with no one present, except those persons who are
authorized to have access to such “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY”
Discovery Material in accordance with this Order. For ten (10) business days after the official
transcript is delivered to all counsel, a party may designate in writing other or new portions
containing “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” information. During this
ten-day period, if any part of the testimony is designated on the record or in writing as containing
“CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” information, the entire deposition or
other testimony will be deemed to contain “CONFIDENTIAL” or “ATTORNEYS’ EYES
ONLY” information. A party objecting to any such designation of deposition or other testimony
as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” shall follow the procedure as set forth
in paragraph 12 below.


8.             Party’s Own Information
        The restrictions on the use of Discovery Material established by this Protective Order are
applicable only to Discovery Material received by a party from another party or from a non-party
as a direct result of this litigation. A party is obviously free to do whatever it desires with its
own Discovery Material.


9.             Related Material
         The restrictions on the use of Discovery Material established by this Protective Order
shall extend to: (i) all copies, extracts and complete or partial summaries prepared from such
Discovery Material; and (ii) portions of briefs, memoranda or any other writing filed with the
Court and exhibits thereto that contain or reflect the content of any such Discovery Material,
copies, extracts, or summaries, provided that such writings are identified as containing
“CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” Discovery Material as provided for by
Paragraph 10 hereto and are marked “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” on
at least the first page of the writing.




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10.            Procedures for Filing Designated Material
        Any party wishing to include, disclose, or attach any “CONFIDENTIAL” or
“ATTORNEYS’ EYES ONLY” Discovery Material as part of or with any pleading, motion,
brief or other paper filed with the Clerk of this Court, shall move to have the material filed under
seal in accordance with the Court’s applicable rules, including but not limited to Local Rules 5.6
of the United States District Court for the Eastern District of Louisiana. Copies of the papers
filed under seal shall be timely served on counsel for the parties. Should the need arise during
any pre-trial proceedings before the Court, a party may cause “CONFIDENTIAL” and/or
“ATTORNEYS’ EYES ONLY” Discovery Material to be disclosed only after appropriate in
camera inspection or other appropriate safeguards are requested of the Court.


11.            Use of Discovery Material at Hearing or Trial
         At any hearing or trial relating to this proceeding, subject to the rules of evidence and any
Order of the Court, a party may use any “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY”
Discovery Material for any purpose. In the event that any “CONFIDENTIAL” or
“ATTORNEYS’ EYES ONLY” Discovery Material is used in any court proceeding in
connection with this litigation, it shall not lose its status as “CONFIDENTIAL” or
“ATTORNEYS’ EYES ONLY” Discovery Material through such use, provided that the parties
to this action take steps reasonably calculated to protect its confidentiality during such use. The
parties may request that attendance at those portions of the hearing or trial or access to the
transcripts of those hearings or the trial in which “CONFIDENTIAL” or “ATTORNEYS EYES’
ONLY” Discovery Material is disclosed be restricted to court personnel and persons authorized
to receive disclosure by this Protective Order.


12.            Challenge to Designation
         In the event that the party receiving “CONFIDENTIAL” or “ATTORNEYS’ EYES
ONLY” Discovery Material disagrees with the designation by the producing or designating
party, then the parties initially will try to resolve the dispute on an informal basis, within five (5)
business days from the date that the receiving party raises the objection to the designation (or a
mutually agreed upon longer period) in writing. Any such disputed items shall be treated as
“CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” Discovery Material, as designated, and
subject to the protections of this Order unless and until the parties reach an agreement or the
Court determines otherwise. If the parties are unable to resolve their differences, then the
objecting party may file a motion requesting disclosure within ten (10) business days after the
informal period has concluded (or a longer time period agreed upon by the parties). In
connection with a motion filed under this provision, the party designating the information as
“CONFIDENTIAL” (or “ATTORNEYS’ EYES ONLY”) shall bear the burden of establishing
that good causes exists for the disputed information to be so treated. Neither party shall be
obligated to challenge the propriety of a “CONFIDENTIAL” or “ATTORNEYS EYES ONLY”
designation, and failure to do so shall not constitute an admission that any Discovery Material is
in fact “CONFIDENTIAL” or “ATTORNEYS EYES ONLY”. Discovery Material marked and
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identified in accordance with this Protective Order shall remain subject to the terms of this
Protective Order unless otherwise agreed by the producing party or ordered by the Court.


13.            Other Protections

        (a)            This Protective Order shall not preclude any party from seeking additional
protection with respect to the confidentiality of Discovery Material as that party deems
appropriate. Nor shall any party be precluded from seeking an order from the Court permitting
the disclosure or use of certain Discovery Materials otherwise prohibited by this Protective
Order;

        (b)             Nothing herein shall prevent the parties from mutually agreeing in writing
to the use or disclosure of “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” Discovery
Material other than as permitted by this Order;

        (c)             If the Court orders that access to or dissemination of any type of
Discovery Material shall be had by or made to persons not included in Paragraph 5 above, such
matters shall only be accessible to, or disseminated to, such persons based upon the conditions
pertaining to, and the obligations arising from, this Order, and such persons shall sign an
Acknowledgment as provided for in Exhibit A of this Order, and in all other respects shall be
considered subject to it; and

        (d)            If it becomes necessary for counsel for a party receiving
“CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” Discovery Material to seek the
assistance of any person other than those specified in Paragraph 5 above, the following
procedures shall be employed:

       (1)            Counsel for the receiving party shall notify, in writing, counsel for the
producing party of the desire to disclose such CONFIDENTIAL or ATTORNEYS’ EYES
ONLY Discovery Material and shall identify the person(s) to whom counsel intends to make
such disclosure;

        (2)            If no objection to such disclosure is made by counsel for the producing
party within five (5) business days of such notification, counsel for the receiving party shall be
free to make such disclosure to the designated person(s); provided, however, that counsel for the
receiving party shall serve upon opposing counsel, prior to disclosure, an Acknowledgment in
the form set forth in Exhibit A whereby such persons agree to comply with and be bound by this
Stipulated Protective Order;

        (3)          If the producing party objects to such disclosure, no disclosure shall be
made at that time. However, any party may bring before the Court the question of whether the
particular “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” Discovery Material can be


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disclosed to the designated person(s) and the party making the designation shall have the burden
of establishing before the Court the necessity for such designation.


14.            Inadvertent Disclosure

        (a)            If, through inadvertence, a producing party provides any
“CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” Discovery Material in this litigation
without marking the information as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY,” the
producing party may subsequently inform the receiving party in writing of the
“CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” nature of the disclosed information, and
the receiving party shall treat the disclosed information in accordance with this Order after
receipt of such written notice and make reasonable efforts to retrieve any such material that has
been disclosed to persons not authorized to receive the material under the terms hereof. A party
objecting to any such “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” designation shall
follow the procedures set forth in Paragraph 12 above. Prior disclosure of material later
designated as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” shall not constitute a
violation of this Order.

       (b)              If “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” Discovery
Material is disclosed to any person other than in the manner authorized by this Order, the person
responsible for the disclosure must immediately bring all pertinent facts relating to such
disclosure to the attention of counsel for the producing party and, if appropriate, to the Court
and, without prejudice to other rights and remedies of any party, take reasonable and appropriate
measures to prevent further disclosure by it or by the person who was the recipient of such
information.

        (c)             If a disclosing party through inadvertence produces or provides Discovery
Material that it believes is subject to a claim of attorney-client privilege, work product immunity,
or any other privilege, the disclosing party may give written notice to the receiving party that the
Discovery Material is deemed privileged and that return of the Discovery Material is requested.
 Upon such written notice, the receiving party shall immediately gather the original and all
copies of the Discovery Material of which the receiving party is aware and shall immediately
return the original and all such copies to the disclosing party. Return of this Discovery Material
by the receiving party shall not preclude the receiving party from later moving the Court to
compel production of the returned Discovery Material.


15.            Materials Not “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY”
        Notwithstanding the designation and protection of any materials as “CONFIDENTIAL”
or “ATTORNEYS’ EYES ONLY” Discovery Material, such Discovery Material shall not be
deemed confidential and shall not be subject to this Order, if the content and/or substance
thereof:


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       (a)             is, at the time of disclosure, in the public domain by publication or
otherwise and is not otherwise protected from disclosure as a result;

        (b)             becomes at any time, through no act or failure to act on the party of the
recipient party, part of the public domain by publication or otherwise;

        (c)            is already in the possession of a party at the time of disclosure by the other
party and was acquired other than directly or indirectly from the disclosing party under
conditions requiring the confidential treatment of the material; or

        (d)          is made available to a party by a third-party who obtained the same by
legal means and without any obligation of confidence to the party claiming its confidential
nature.


16.            Return of Discovery Material
        After this case is completed, including the exhaustion of all appeals, each party, unless
otherwise agreed in writing by counsel for the parties, shall have thirty (30) calendar days to
notify the other party in writing whether it wants (1) the return of its produced materials
designated as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY,” including all copies,
extracts, and summaries thereof; or (2) the destruction of these materials by the party, person, or
firm in possession. Any documents, copies, extracts or summaries that constitute attorney work
product may be retained by counsel or destroyed. The return or destruction of these materials
shall occur within thirty (30) days after this written notice is received. The party returning or
destroying materials under this paragraph shall provide a written certificate to the producing
party attesting to the return or destruction of all designated materials.


17.            Waiver or Termination
         The provisions of this Protective Order may not be modified, waived or terminated
except by the written stipulation of counsel or order of the Court. This Order shall survive the
final termination of this proceeding with respect to any retained “CONFIDENTIAL” or
“ATTORNEYS’ EYES ONLY” Discovery Material. Termination of the proceedings shall not
relieve any person from the obligations of this Protective Order, unless the Court orders
otherwise. The Court shall retain jurisdiction to enforce the Protective Order despite the
termination of this lawsuit.


18.            Notice
        All notices required by this Protective Order are to be served via facsimile to the outside
counsel for the parties. The date by which a party to this action receiving the notice shall
respond, or otherwise take action, shall be computed from the date indicating that the facsimile
was received. Any of the notice requirements herein may be waived in whole or in part, but only
in writing signed by an attorney for the party designating Discovery Material under this Order.
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19.             Other Proceedings
        By entering this order and limiting the disclosure of information in this case, the Court
does not intend to preclude another court from finding that information may be relevant and
subject to disclosure in another case. Any person or party subject to this Order who receives a
written request, subpoena, or court order seeking disclosure of another party’s
“CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” Discovery Material, such person shall
promptly (no more than five (5) business days after receipt) notify counsel for the producing
party of the request, subpoena, or court order and shall provide a copy of the same.



                                              _______________________________
                                                   U.S. DISTRICT
                                                 United           JUDGE
                                                        States Magistrate Judge
                 Hello This is a Test                        4/25/13
                                                            2/15/05




Submitted by:


Jason Foote, Esq.                                    KEATY Law Firm
2201 Veterans Blvd. Suite 402                        Thomas S. Keaty - 7666, T.A.
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                                                     Counsel for Haydel Enterprises, Inc.




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                                            EXHIBIT A

 WRITTEN ACKNOWLEDGEMENT TO ABIDE BY THE TERMS OF THE STIPULATION
              AND ORDER REGARDING CONFIDENTIALITY

I, _________________________________________, do solemnly swear that I have received a
copy of the Stipulated Protective Order Governing Confidentiality that was entered into by the
parties in connection with Civil Action No. 2:12-cv-02515 styled Nola Spice Designs, L.L.C. v
Haydel Enterprises, Inc. pending in the Eastern District of Louisiana, and I hereby agree to be
bound by its terms and conditions. I recognize that during my participation in the handling and
development of this case I may have occasion to read or hear of Discovery Material that is
designated “CONFIDENTIAL” or “ATTORNEYS EYES ONLY.” I agree to use any such
Discovery Material solely in connection with my participation in this case and for no other
purpose, and state that I am not a business competitor of any of the parties. I hereby submit to
the jurisdiction of the District Court for the Eastern District of Louisiana for the limited purpose
of enforcing said Stipulated Protective Order Governing Confidentiality, and this
Acknowledgement, by contempt proceedings or other appropriate judicial remedies.


I am employed by __________________________________ and my title is
______________________________________.
I declare under penalty of perjury that the foregoing is true and correct.
Executed on __________________, _____________, at ____________________.




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